Case 11-25668-lbr Doc1 Entered 10/03/11 10:21:42 Page 1of2_

p.l

Official Form 5 (10/06)
United States Bankruptcy Court

District of

INVOLUNTARY
PETITION

IN RE (Name of Debtor ~ [f Individual: Last, First, Middiey

Saunders, Leslie U. |

Last four digits of Soc, Sec. No./Compiete EIN or other Tax 1D. No. Gfinore than
one, state all.):

; ALL.OTHER NAMES.used by debtor in the last 8 years
' Cnclude married, maiden, and trade names.)

STREET ADDRESS OF DEBTOR (No. and street, city, state, and zip code) Foo 0
ASSO Uw. Horizon Ridae Kuy
\erdesim NV Sa0S5 2°

y COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS

ZIP CODE

MAILING ADDRESS OF DEBTOR (If different from street address)

ZIP CODE

LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (if different from previously listed addresses)

CHAPTER OF BANKRUPTCY CODE UNDER WHICH PETITION IS FILED

C) Partnership
C2 Other (If debtor is not ane of the above entities,
check this box and state type of sntity below.)

M7 Debts are primarily consumer debts
(1 Debts are primarily business debts

11 U.S.C. § 101(51)¢B)
QO Railroad

0 Stockbroker

QO Commodity Broker
O Clearing Bank
Gie-Other

EY Chapter 7 O Chapter 11
INFORMATION REGARDING DEBTOR (Check applicable baxcs) :
Nature of Debts Type of Debtor Nature of Business 4
(Check one box.) (Form of Organization) . : (Check one box.)
[T individual (includes Joint Debtor) O Health Care Business
Petitioners believe: C) Corporation (includes LLC and LLP) O) Single Asset Real Estate as defined in

VENUE

2 Debtor has been domiciled or has had a residence, principal
place of business, or principal assets in the District for [80
days immediately Preceding the date of this petition or for
a longer part of such 180 days than in any other District.

CA benkruptey case Soucerning debtor's affiliate, genera!
partner or partnership is pending in this District.

FILING FEE (Check one box)”

FFF Full Filing Fee attached

C1) Petitioner is a child support creditor or its Tepresentative, and the form

specified in § 304(g) of the Bankruptcy Reform Act of 1994 fs attached,
&ifa child support creditor or its representative ts a petitioner, and If the
petttioner files the form specified in § 304@) of the Bankruptcy Reform Act of
1994, no fee ts required. ] .

OR AFFILIATE OF THIS DEBTOR {Report information for any additional cases on attached sheets,
Name of Debtor Case Number a Date

PENDING BANKRUPTCY CASE FILED BY OR AGAINST ANY PARTNER

3.a. ©) The debtor is generally not prying such debtor's debts ag they become due, unless such debts are the
subject of a bona flda dispute ay to liability or amount, .
Or
b. Within (20 days preceding the filing of this petition, a custodian, other than a trustee receiver, or
agent appointed or authorized to take charge of less than substantially all of the property of the
L debtor for the purpose of enforcing a lien against such Property, was appointed or took possession,

Relationship District Judge
ALLEGATIONS |
(Check applicable boxes) COURT USE ONLY
| 1. Petitioner (8) are eligible to file this petition pursuant to 11 U.S. C. § 303 (b).
2. © The debtor is a person against whom an order for reli¢f may be entered under title 11 of the United
States Code.
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Case 11-25668-lbr Doc1 Entered 10/03/11 10:21:42 Page 2 of 2 p.2

Official Form § (10/06) — Cot. Name of Debtor

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- ‘TRANSFER OF CLAIM =—
[) Check ihis box if there has been a transfer of any claim against the debtor or to any petitioner. Attach al! documents that
evidence the transfer and any statements that are required under Bankruptcy Rule 1003¢a).
¥

Petitioner(s) request that an order for relief be entered against the debtor under the chapter of title 11, United States Code, Specified in this
petition. If any petitioner is a foreign Tepresentative appointed in a foreign proceeding, a certified copy of the order of the court gratiting
recognition is attached. ne ,

Petitioner(s) declare under Penalty of perjury that the foregoing is true and
correct avcording AG the Pe knowiedge, information, and belief.
x x
Signatu Of Petitiqneror Re resentative (State title) Signature of Attomey Date
Name rk nuioner Date Siuned Name of Atlomey Firm Qf any)
Nam¢ # Mailing Address |
Addréss of Individual 12 Waltoy \ Ave. I
Signing in Representative ‘ Telephone No, }
Capacity white Pons, RY :
DOWF
x, Qy N Y Din x.
Signature of Petitioner or Re Cee © (State title) Signature of Attomey Date
. i eC,
Namé of Petitioner _ Date Signed I Name of Attomey Firm (fany)
i
Name & Mailing | Address
Address of Individual 3050 Asad du.
igning in Re tati Tel . ‘
oe opresentative Resuat, GA elephone No
|
x x
Signature 6 ntative (State title) _ | Signature of Attomey Date !
- : , 1
Name of Petitioner Date Signed Name of Attomey Firm (If any)
a Perry
Name & Mailing Ad
Address of Individual QESC WwW. Herizen Ride
. Signing in Representative Telephone No.
Capacity _Henderson, NV
SI0OS.A Co
.. a . PETITIONING CREDITORS _.
Name and Address of Petitioner 1 weiton OVE Nature of Claim Amount of Claim 5
. 4 . 41: Sen ch _ Qo.
Jaclyn Li bow itz, While Plains VYSEF NOTE |S, OOO
Neme and Address of Petitioner AOSO Ascok L ne Nature of Clatn Amount of Claim ou
obie Heken2 1 “oswell, GA BOTY . NOTE 1G, O0C —
| Name and of Petitioner O85 uw. Hortton Ridge Nature of Claim Amount of Claim
Anne Shore < Kenderim, NV 8q652. NOTE 3,00
Note: Ifthere are more than three petitioners, attach additional sheets with the statement under Totel Amount of Petitioners’
penalty of perjury, each petitioner’s signature under the statement and the name of attotncy Claims . . ee
and petitioning creditor information in the format above. oO , COCO

continuation sheets attached

